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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                         FORT MYERS DIVISION

NUVASIVE, INC.,

             Plaintiff,

v.                                               Case No: 2:19-cv-698-SPC-NPM

CHRISTOPHER LEDUFF,
GREGORY SOUFLERIS and
ABSOLUTE MEDICAL
SYSTEMS, LLC,

              Defendants.
                                          /

                             AGREED INJUNCTION1

       Before the Court is the parties’ Joint Motion for Entry of Agreed Order

of Dismissal and Permanent Injunction (Doc. 90). The parties settled this case.

As part of their settlement, they now ask the Court to enter a stipulated

injunction and dismiss the case. The filing is signed by both sides. See Fed. R.

Civ. P. 41(a)(1)(A)(ii). Given the agreement, the Court grants the Motion.

       Accordingly, it is now

       ORDERED:




1 Disclaimer: Documents hyperlinked to CM/ECF are subject to PACER fees. By using
hyperlinks, the Court does not endorse, recommend, approve, or guarantee any third parties
or the services or products they provide, nor does it have any agreements with them. The
Court is also not responsible for a hyperlink’s availability and functionality, and a failed
hyperlink does not affect this Order.
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      1. The parties Joint Motion for Entry of Agreed Order of Dismissal and

         Permanent Injunction (Doc. 90) is GRANTED.

      2. Defendant Christopher LeDuff and/or anyone under his supervision,

         direction, and/or control shall not, until February 1, 2022, directly

         or indirectly, solicit, support, do business or attempt to do business

         with the following spine surgeons: Dr. Paul Richard, Dr. Mark

         Gerber, Dr. Michael Lusk, Dr. Benjamin Ditty, Dr. Edison Valle-

         Giller, Dr. Gary Colon, Dr. Dean Lin, Dr. Constantine Plakas, Dr.

         Michael Fromke, Dr. Jeffrey Henn, Dr. Paul Fuchs, Dr. Douglas

         Savage, Dr. Jamie Alvarez, and Dr. Gary Correnti, as well as any of

         the administrators, executives, and/or employees responsible for

         pricing and/or the approval of products at Physicians Regional

         Hospital, Naples Community Hospital, Gulf Coast Medical Center,

         Lee Memorial Health, Surgery Center of Naples, and Health Park

         Medical Center. This Agreement specifically allows LeDuff to work

         with Dr. Kristin Cola, Dr. Mark Frenkel, and any spine surgeon not

         set forth in this Paragraph as well as any hospital administrators or

         employees who are necessary to ensure patient safety and health care

         compliance during a surgery (e.g., operating room personnel) so long

         as LeDuff has no direct or indirect communications or contact (beyond

         exchanging pleasantries in passing) with the above-referenced spine




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         surgeons and/or the administrators, executives, and/or employees

         responsible for pricing and/or the approval of products while at the

         restricted facilities.

      3. This is a final Order. Absent a violation of this Order, there will be

         no further relief granted in this matter and any such request for such

         relief are dismissed with prejudice. In the event of a violation, in

         addition to any other remedy granted by the Court, the prevailing

         Party in any motion to hold one or more Parties in contempt of this

         Order shall be entitled to recover the reasonable attorneys’ fees and

         costs it or he incurred in prosecuting or defending the motion for

         contempt from the non-prevailing Party and/or Parties.

      4. This action is DISMISSED with prejudice.

      5. The Clerk is DIRECTED to enter judgment, terminate any pending

         motions or deadlines, and close the case.

      DONE and ORDERED in Fort Myers, Florida on July 8, 2021.




Copies: All Parties of Record




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